Case 2:12-cv-00859-LMA Document 1223 Filed 03/06/19 Page 1 of 4

 

STANLEY, REUTER, ROSS
Vv 3 THORNTON & ALFORD, Lic
«@
% 909 Poydras Street, Suite 2500
M. REBECCA COOPER New Orleans, Louisiana 70112 OUR FILE NO.
Telephone: 504-523-1580 61-277
Facsimile: 504-524-0069
March 4, 2019
VIA HAND DELIVERY
Hon. Lance M. Africk
500 Poydras Street
Room C405

New Orleans, LA 70130

Hon. Michael B. North
500 Poydras St.

Room B419

New Orleans, LA 70130

Re: Jones v. Gusman, EDLA Case No. 12-cy-00859
Dear Judge Africk and Magistrate Judge North:

I am writing on behalf of Independent Jail Compliance Director Darnley R. Hodge,
Sr., with regards to Document Number 1222 in the above-referenced case, filed by the City of New
Orleans (“City”). This document was filed by the City in response to an order by Judge Africk in
Document Number 1221 directing the City to submit to the Court “a specific written proposal
regarding a short-term solution to the mental health-related issues discussed at the conference and
set forth in this order.” Doc. No. 1221 at 3. The City was further directed to develop this proposal
in collaboration with Director Hodge and in consultation with the monitors. Jd.

Director Hodge supports the City’s proposal to renovate TDC for short-term mental
health housing as set forth in Document Number 1222, while the City simultaneously moves
forward with the planning and construction of Phase III set forth in Document Number 1106.
However, Director Hodge also has several concerns with the document as filed by the City that he
wishes to bring to the attention of the Court.

The City’s filing references a meeting held by the City on January 12, 2019, where
the City presented three options for “medical services housing.”’ Doc. No. 1222 at 2. The City’s
filing creates the impression that the OPSO summarily rejected the three options presented by the
City without any consideration, but that simply is not true. Director Hodge and the OPSO attended
this meeting in good faith and fully heard out and considered the City’s options.

 

1 As a point of clarification, Sheriff Gusman was not at this meeting, although several
representatives from his office were present.
Case 2:12-cv-00859-LMA Document 1223 Filed 03/06/19 Page 2 of 4

STANLEY, REUTER, ROSS, THORNTON & ALFORD, LEC

March 4, 2019
Page 2

Two of the City’s proposals that were presented in this meeting involved using
TDC as permanent medical inmate housing. For several reasons, using TDC as a long-term facility
is not a practical solution. TDC was constructed in 2011 with the intent that it be used only as a
temporary detention facility. Accordingly, the building only has a lifespan of around ten years,
the facility will require expensive maintenance and repairs over time if it were to be used as a
permanent facility. Additionally, the facility was not intended or designed to remain occupied
during hurricanes. It would therefore be inappropriate to use TDC as a permanent facility for
inmates with mental and medical health care needs because these inmates are among the most
vulnerable under OPSO’s care and would be the most likely to struggle with the transition to a
new facility if TDC needed to be vacated during a storm. Further, TDC will not be able to utilize
OPSO’s existing central utility plant, which was constructed in 2013, nor does TDC have any
redundant systems or uninterruptible power supplies to prevent system power failure interruptions.
Its separation from the main campus makes it logistically inefficient to provide food service,
laundry service, commissary, and other services, and will additionally require additional staff for
daily transportation of inmates and for additional security checkpoints. Crossing the secure
perimeter multiple times daily for routine work increases the chance of contraband entering the
secure side. Although many of these concerns exist for the use of TDC as a temporary facility as
well, Director Hodge believes that using TDC for inmates with mental health needs, although not
ideal, is the best solution in the short-term until a permanent Phase III is operational.

The City’s third proposal, retrofitting the fourth floor of OJC, is similarly
problematic. Director Hodge has serious concerns that construction activities in OJC would
severely disrupt the progress that has been made during his time as Compliance Director and could
pose a security threat to the inmates and staff that work in OJ Cc?

As another issue, the City expressed concern about the costs of renovating TDC,
particularly since TDC may be demolished after its temporary use. Doc. No. 1222 at 3. Although
Director Hodge recognizes that it would be preferable not to need a short-term housing solution
that requires this expense, he also acknowledges that the inaction towards construction of Phase
III is a large part of the reason why TDC must be used as a temporary facility now. The City,
under the Landrieu administration, and the former Compliance Director, Gary Maynard, reached
an agreement in January 2017 to construct Phase III in order to provide a permanent facility for
the provision of medical and mental health care services. See Doc. No. 1106. In the ensuing two
years, the only substantive action taken towards the completion of that plan has been the passage
by the City Council of Motion No. M-17-261, directing the City Planning Commission to conduct
a public hearing to consider amending Ordinance No. 24282 and to establish a conditional use to
permit the construction of the 89-bed Phase III. In the two years since the City and the Compliance
Director reached an agreement on the construction of Phase III, little other progress has been made

 

2 When these concerns regarding the three options were raised with the City by Director Hodge
and representatives of the OPSO, the City did not seem to take them seriously. The City compared
construction and renovation of the jail’s facilities to the repaving of Bourbon Street. Although
Director Hodge understands the importance of Bourbon Street to the City, respectfully,
undertaking construction activities in a jail facility is far riskier, and safety and security concerns
simply must be taken into account when deciding what path to pursue.
Case 2:12-cv-00859-LMA Document 1223 Filed 03/06/19 Page 3 of 4

STANLEY, REUTER, ROSS, THORNTON & ALFORD, Lic

March 4, 2019
Page 3

towards bringing Phase III to fruition. This delay in implementation has, to a great extent, led the
parties to this position of needing to renovate a temporary facility so that the male and female
inmates with mental health needs in OPSO’s custody get the care they need within the parish.

An additional point should be kept in mind with regard to the cost of renovating
TDC. If Hunt had agreed to continue housing OPSO inmates with mental health needs throughout
the construction of Phase III, the costs of such housing would likely be higher over time than the
estimated $4.5—5 million needed to renovate TDC. Costs associated with housing inmates at Hunt
include: the cost of the contract itself, the monetary and personnel cost of transporting inmates on
a regular basis to and from Hunt, the cost of CCS maintaining an outpost at Hunt, and the cost of
litigation resulting from injuries sustained during the transportation of inmates to and from Hunt.
Over the course of an estimated three years necessary to construct Phase III, the renovations to
TDC will be largely offset by these avoided costs.

Director Hodge is additionally concerned that the City stated in this filing that it
intends to expend $36.1 million on Phase III, and further seems to be implying that FEMA funds
will be the sole source of funding for Phase III. See Doc. No. 1222 at 3. In conversations with
Grace Hebert Architects, Director Hodge and the OPSO have been informed that it will cost more
than $36 million to construct a suitable Phase III building as outlined in Document Number 1106.
This Court has acknowledged that the City is obligated to provide a “good and sufficient jail.” See
Doc. No. 738 at 21 (quoting La. Rev. Stat. 33:4715). This Court has also acknowledged case law
that puts the burden of funding the jail on the City, while the Sheriff has the obligation to operate
the facility. Id.; see also Broussard v. Foti, No. 00-2318, 2001 WL 258055, at *2 (E.D. La. Mar.
14, 2001) (Vance, J.) (“the legislative scheme dictates that the City of New Orleans bears the
obligation of satisfying the expenses of housing prisoners, while the sheriff has the duty of
operating the facility”). Director Hodge is concerned that if not enough funds are set aside for
Phase III, the City may not meet its obligation to provide a “good and sufficient jail.”

Finally, Director Hodge notes that, while the City has stated that it will move
forward with the renovations of TDC, it has also said that it will “simultaneously continu[e] to
explore other options.” Doc. No. 1222 at 3-4. It is unclear what those other options may be, and
whether the City may not turn its full attention to the implementation of the plan to renovate TDC
if it is devoting time and attention to other options. Respectfully, Director Hodge does not want
another lengthy delay in this project, as has been experienced with Phase III.

With kind regards, I am

Sincerely,

MIL

M. Rebecca Cooper

MRCisj
Case 2:12-cv-00859-LMA Document 1223 Filed 03/06/19 Page 4 of 4

STANLEY, REUTER, ROSS, THORNTON & ALFORD, Lic

March 4, 2019
Page 4

cc: Darnley R. Hodge, Sr. (via e-mail)
Richard C. Stanley (via e-mail)
Sheriff Marlin N. Gusman (via e-mail)
Blake Arcuri (via e-mail)
James M. Williams (via e-mail)
Sunni LeBeouf (via e-mail)
Donesia Diane Turner (via e-mail)
Churita H. Hansell (via e-mail)
Theodore R. Carter, III (via e-mail)
Laura Coon Cowall (via e-mail)
Kerry Dean (via e-mail)
Megan Marks (via e-mail)
Emily Washington (via e-mail)
Elizabeth Cumming (via e-mail)
Eric A. Foley (via e-mail)
Margo Frasier (via e-mail)
Susan McCampbell (via e-mail)
